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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Nadeem Khan
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                )   Case No.: 2:12-cr-00185-TLN
 9   UNITED STATES OF AMERICA,                  )
                                                )
10                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   CONTINUANCE OF JUDGMENT AND
11       vs.                                    )   SENTENCING
     NADEEM KHAN,                               )
12                                              )
                  Defendant.                    )
13                                              )
14
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

16   Judgment and Sentencing scheduled for February 5, 2015, at 9:30 a.m. is continued to

17   May 14, 2015, at 9:30 a.m. in the same courtroom. Probation has also been informed of

18   the continuance request. Defendant needs additional time to prepare for sentencing and

19   requested a continuance. Jason Hitt, Assistant United States Attorney, and Thomas A.

20   Johnson, Defendant’s attorney, agree to this continuance.

21
22   IT IS SO STIPULATED.

23
     DATED: January 26, 2015                         By:    /s/ Thomas A. Johnson
24                                                          THOMAS A. JOHNSON
                                                            Attorney for Nadeem Khan
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27
28



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     DATED: January 26, 2015                        BENJAMIN B. WAGNER
 1                                                  United States Attorney
 2                                            By:    /s/ Thomas A. Johnson for
                                                    JASON HITT
 3                                                  Assistant United States Attorney
 4
 5        IT IS SO ORDERED.
 6   DATED: January 28, 2015
 7
                                                       Troy L. Nunley
 8                                                     United States District Judge
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27                      IN THE UNITED STATES DISTRICT COURT
28                    FOR THE EASTERN DISTRICT OF CALIFORNIA



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 1
     UNITED STATES OF AMERICA,                      )   Case No. 2:12-cr-00185-TLN
 2                                                  )
                    Plaintiff,                      )
 3                                                  )   MODIFICATION OF SCHEDULE FOR
            vs.                                     )   PRE-SENTENCE REPORT AND FOR
 4                                                  )   FILING OF OBJECTIONS TO THE PRE-
     NADEEM KHAN,                                   )   SENTENCE REPORT
 5
                                                    )
 6                  Defendant                       )
                                                    )
 7
 8   Judgment and Sentencing date:                             May 14, 2015
 9
     Reply or Statement                                        May 7, 2015
10
     Motion for Correction of the Pre-Sentence
11   Report shall be filed with the court and                  April 30, 2015
12   served on the Probation Officer and opposing
     counsel no later than:
13
     The Pre-Sentence Report shall be filed with
14   the court and disclosed to counsel no later               April 23, 2015        __
15   than:

16   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                 April 9, 2015
17
     Probation Officer and opposing counsel
18   no later than:

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